                     Case 2:15-cv-05633-JVS-PLA Document 202 Filed 09/26/17 Page 1 of 2 Page ID #:8022
    UNITED STATES DISTRICT COURT                            TRANSCRIPT ORDER FORM                                         COURT USE ONLY
   CENTRAL DISTRICT OF CALIFORNIA          Please use one form per court  reporter per case, and contact court reporter    DUE DATE:
                                        directly immediately after e-filing form. (Additional instructions on next page.)
   1a. Contact Person                                                                       2a. Contact Phone                                                3a. Contact E-mail
       for this Order
                        Drew H. Sherman                                                         Number
                                                                                                                        213-537-1670                             Address
                                                                                                                                                                                       drew.sherman@adlilaw.com


   1b. Attorney Name                                                                       2b. Attorney Phone                                                3b. Attorney E-mail
       (if different)                                                                          Number                                                            Address

  4. MAILING ADDRESS (INCLUDE LAW FIRM NAME, IF APPLICABLE)                                                    5. Name & Role of
  Adli Law Group                                                                                                  Party Represented
                                                                                                                                          David Hakim et al
  444 S. Flower St. Suite 3100
  Los Angeles, CA 90071                                                                                        6. Case Name               David Hakim et al v. Murano, Inc et al.

                                                                                                               7a. District Court                                                            7b. Appeals Court
                                                                                                                   Case Number
                                                                                                                                          2:15-cv-05633-JVS-PLA                                  Case Number

  8. INDICATE WHETHER PROCEEDING WAS (choose only one per form):
                    DIGITALLY RECORDED                         TRANSCRIBED BY A COURT REPORTER; NAME OF COURT REPORTER: Lisa Gonzalez


 9. THIS TRANSCRIPT ORDER IS FOR:                Appeal             Non-Appeal                           Criminal              Civil                 CJA        USA             FPD          In forma pauperis (Court order for transcripts must be attached)

                                                                                                                                                                           You MUST check the docket to see if the transcript has already been filed, and if so,
 10. TRANSCRIPT(S) REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested, format(s), and delivery type):                                 provide the "Release of Transcript Restriction" date in column c, below.
  a. HEARING(S) OR PORTIONS OF HEARINGS (Attach additional pages if necessary. If sealed, a court                                                             (CM/ECF access included          c. RELEASE OF TRANS.
  order releasing transcript to the ordering party must be attached here or emailed to                                          b. SELECT FORMAT(S)                                                                             d.     DELIVERY TYPE
                                                                                                                                                             with purchase of transcript.)      RESTRICTION DATE
  transcripts_cacd@cacd.uscourts.gov.)
                                                            PROCEEDING TYPE / PORTION                                                     TEXT /            CONDEN-    CM/ECF                     (Provide release date of        (One per line, but check with
         DATE                  JUDGE                                                                                             PDF                                            WORD
                                                                                                                                                                                               efiled transcript, or check to    court reporter before choosing
                                          If requesting less than full hearing, specify portion (e.g., witness or time). CJA               ASCII    PAPER      SED     ACCESS
                            (name)           orders: indicate if openings, closings, voir dire, or instructions requested.
                                                                                                                                (email)
                                                                                                                                          (email)            (email)    (web)
                                                                                                                                                                              INDEXING
                                                                                                                                                                                                 certify none yet on file. )       any type but "ordinary.")
                                         Plaintiff's' Motions in Limine (Fld 11-8-16)                                             ●                                                              ●                              14-Day
     12/12/2016            J. Selna




 11. ADDITIONAL COMMENTS, INSTRUCTIONS, QUESTIONS, ETC. CJA Orders: Explain necessity of non-appeal orders & special authorizations to be requested in Section 14 of CJA-24 Voucher (attach add'l pages if needed).




 12. ORDER & CERTIFICATION. By signing below, I certify that I will pay all charges (deposit plus additional), or, where applicable, promptly take all necessary steps to secure
 payment under the Criminal Justice Act.
                                                         Date September 26, 2017                        Signature
G-120 (3/16)
                              Case 2:15-cv-05633-JVS-PLA
                                CENTRAL                  DocumentTRANSCRIPT
                                          DISTRICT OF CALIFORNIA  202 Filed 09/26/17
                                                                              ORDER Page
                                                                                     FORM2-of 2 Page ID #:8023
                                                                                           INSTRUCTIONS
Please use this form to order transcripts of court proceedings. Additional information about ordering transcripts is available on the Court's website at www.cacd.uscourts.
gov/court-reporting-services/court-reporterrecorder-transcripts. Before ordering, however, you must check the docket to see if the transcript has already been filed. In
addition, if a proceeding was sealed, you must obtain a court order before requesting the transcript. You must also determine which court reporter covered the hearing, or
whether it was digitally recorded (proceedings held before Magistrate Judges, except some trials, are digitally recorded); check the Court Reporter Schedule and the
Minutes of the proceeding. Then:
         1. Complete a separate G-120 order form for each case number for which transcripts are ordered.
         2. Complete a separate G-120 order form for each court reporter who reported proceedings in the case, and for any digitally recorded proceedings.
         3. Complete Items 1-12. Keep a copy of your completed order form for your records.
         4. CJA Counsel must submit this form using the Central District's eVoucher system. Otherwise, this form must be e-filed in the Central District's CM/ECF
         system, except when the order is placed by someone without e-filing privileges, or by a non-party. In such cases, e-mail the completed form directly to the court
         reporter (or, for digitally recorded hearings, to the Court Reporting Services Office at courtrecording_cacd@cacd.uscourts.gov). E-filers should complete the form,
         "print to PDF" or scan (first page only) in LANDSCAPE, and e-file using either the Civil or Criminal "Transcript Order Form (G-120)" event in CM/ECF.
         5. CJA orders will be processed in eVoucher. For all other orders, you must contact the court reporter directly immediately after submitting this form. Court
         reporter contact information is available here. For digitally recorded hearings, contact the Court Reporting Services Office at (213) 894-3015 or email
         courtrecording_cacd@cacd.uscourts.gov.
                                                               ITEM-BY-ITEM INSTRUCTIONS (ITEMS 1-12):
Items 1-3. In fields 1a, 2a & 3a, please provide the contact name and information for the person responsible for ordering the transcript. In a law office, this may be a
paralegal or administrative assistant, not the attorney. In fields 1b, 2b & 3b, provide the attorney name and contact info, if the attorney is not the contact person.
Item 5. Include both the name and role of the ordering party (i.e., "Defendant John Smith"). May be left blank if order is being placed by a non-party.
Item 7a. Only one case number may be listed per order.
Item 8. Refer to the Minutes of the proceeding to determine whether the hearing was digitally recorded ("CS" or "CourtSmart") or transcribed by a court reporter. When
the Minutes read "MINUTES (IN CHAMBERS)," this means that no proceeding was held, no recording was made, and no court reporter was present; therefore, no
transcript exists. If no Minutes have been filed, contact the judge's courtroom deputy (list available here).
Item 9. Check appeal OR non-appeal AND criminal OR civil. You may also check one of the other boxes if applicable. NOTE: a court order specifically authorizing
transcripts is required before transcripts may be ordered in forma pauperis.
Item 10a. List specific date(s) of the proceeding(s) for which transcript is requested. Under "Proceeding Type/Portion," indicate briefly what type of proceeding it was,
such as "motion hearing," "sentencing," or "trial." A transcript of only a portion of a proceeding may be ordered, if the description is clearly written to facilitate processing.
Item 10b. Select desired FORMAT(S) for transcript. There is an additional charge for each format ordered.
Item 10c. For each proceeding, you must either provide the Release of Transcript Restriction date or mark the circle to certify that no transcript has yet been e-filed.
Item 10d. Six DELIVERY TYPES are available. Times are computed from date payment is satisfied (or, for government orders, the DCN number received). NOTE: Full
price may be charged only if the transcript is delivered within the required time frame. For example, if an order for an expedited transcript is not completed and delivered
within 7 calendar days, the 14-day delivery rate would be charged. Visit www.cacd.uscourts.gov/court-reporting-services/court-reporterrecorder-transcripts for rates.
         TRANSCRIPT DELIVERY TIMES (For anything other than "Ordinary" delivery, you must check with the court reporter first to see if the option is available.)
                  ORDINARY ─ 30 calendar days.               DAILY (NEXT DAY) ─ Following adjournment and prior to the normal opening hour
                  14-DAY ─ 14 calendar days.                   of the court on the following morning whether or not it actually is a court day.
                  EXPEDITED ─ 7 calendar days.               HOURLY (SAME DAY) ─ within two (2) hours.
                                                             REALTIME ─ A draft unedited, uncertified transcript produced by a certified realtime reporter as a
                                                               byproduct of realtime to be delivered electronically during proceedings or immediately following adjournment.
Item 11. CJA Counsel must explain why special requests are necessary to the representation. Special requests include opening statements, closing arguments, voir dire, or
jury instructions; transcripts for use in proceedings other than appeals; requests for expedited handling; and requests covered by Section 14 of the CJA-24 Voucher.
Item 12. Sign and date in this space to certify that you will either pay all charges (the deposit plus any additional charges) or promptly take all steps necessary to secure
payment under the CJA. An electronic or conformed (/s/) signature is acceptable.                                                                                          G-120 (3/16)
